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                                                                                               2020 Jul-18 PM 12:27
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               MIDDLE DIVISION


ROY S. MOORE,

                      Plaintiff,                         Civil Action

       v.
                                                         Case No. 4:19-cv-01855-CLM
GUY CECIL; PRIORITIES USA;
SENATE MAJORITY PAC (SMP);
BULLY PULPIT INTERACTIVE LLC;
and WATERFRONT STRATEGIES,

                      Defendants.



                      __________________________________________

    LARRY KLAYMAN’S RESPONSE TO NOTICE REGARDING DISCIPLINARY
               ACTION AGAINST PLAINTIFF’S COUNSEL
                      __________________________________________

       On Friday, July 17, 2020, lead counsel for Defendants filed the above styled notice,

knowing full well, as “seasoned” practitioners, that timely filed petitions for rehearing under

Rules 35 and 40 of the District of Columbia Court of Appeals would mean that the order of the

District of Columbia Court of Appeals is not yet a final order. 1 Attached as Exhibit 1 is a timely

Petition for Rehearing En Banc which Mr. Klayman had a right to file under District of

Columbia Court of Appeals Rule 35 after the original panel denied his initial petition before it.

The District of Columbia’s Bar Disciplinary record was thus not updated and is in administrative




1In any event, Mr. Klayman remains a member continuously in good standing of The Florida
Bar since 1977. Exhibit 2.



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error, probably caused by a Bar Disciplinary Counsel that is a Democrat and very partisan. 2Mr.

Klayman, a Republican, is also strong supporter of the president in his public interest advocacy.

         Accordingly, if and when the June 11 order becomes final, Mr. Klayman advised local

counsel for Defendants Barry Rasgdale, who along with primary counsel Marc Elias and William

Stafford of Perkins Coie LLP, that he would, if necessary, so properly advise this honorable

Court.

         That Defendants’ counsel could not wait to again smear Mr. Klayman as they attempted

at the outset of this case, in order to continue and join in with their clients’ pattern and practice

of smearing and defaming Plaintiff Chief Judge Roy Moore, is what regrettably necessitated

this litigation. Defense counsels’ conduct is curious.

         Contrary to the offensive tactics of defense counsel, Mr. Klayman had not seen fit to

raise the fact that Mr. Arias and Mr. Stafford of the Perkins Coie law firm are currently under

criminal investigation by U.S. Attorney John Durham at the direction of Attorney General

William Barr of the U.S Justice Department for laundering money on behalf of Hillary Clinton,



2District of Columbia Bar Disciplinary Counsel has donated repeatedly to Democrats, including
former President Barack Obama, who Mr. Klayman has sued in his public interest capacity.
Indeed, Bar Disciplinary Counsel entertained a bar complaint against Kellyanne Conway,
counselor to President Trump, filed by leftist law professors, one of which, Michael Tiger, is an
avowed communist who as reported by famed Washington Post investigative journalist, Bob
Woodward, in his landmark book “The Brethren” about the Supreme Court, was fired by Chief
Justice Earl Warren at the urging of J. Edgar Hoover and others for his subversive ties. The bar
complaint filed against Kellyanne Conway’ was largely for statements she had made on cable
news. By contrast, a bar complaint filed by Ty Clevenger, a conservative lawyer activist, against
David Kendall, longstanding legal counsel of the Clintons at Williams and Connolly, who
allegedly assisted Hillary Clinton in the destruction of Benghazi emails on her private server,
was quickly dismissed. A simple search of Federal Election Commission records and Google
attests to the apparent partisanship of DC Bar Disciplinary Counsel and his Deputy Bar
Counsels.




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which monies paid for the now infamous and fraudulent Steele Dossier. It is well established

that the Steele Dossier triggered the fraudulently induced Russian Collusion investigation of

Special Counsel Robert Mueller. This apparent money laundering is also alleged to constitute

criminal campaign finance violations, notwithstanding the fraudulent nature of the Steele Dossier

itself, which defense counsel at Perkins Coie facilitated.3 Of course, defense counsel have not

offered to this honorable Court their apparent      involvement in an on-going DOJ criminal

investigation.

       It is obvious to any reasonable person that the precipitous attempts to smear Mr.

Klayman, counsel for Plaintiff Moore, stem from an improper and unethical attempt to influence

and thus prejudice this honorable Court as it deliberates and may soon rule on the pending

motion to dismiss filed by these counsel on behalf of their equally dishonest clients; clients who

maliciously defamed Chief Justice Roy Moore for political and other improper purposes.

       Importantly, the Honorable Andrew Carter of the U.S. District Court for the Southern

District of New York recently denied a motion to dismiss in a case involving Sacha Baren

Cohen’s Showtime and CBS’s similar defamation against Chief Justice Roy Moore and allowed

the case to go forward. Moore v. Cohen et al, 1:19-cv-4977.



3See David Thomas, Carter Page Suit Puts Fresh Spotlight on Perkins Coie, Marc Elias Over
Trump 'Dossier', Law.com, Jan. 31, 2020, available at:
https://www.law.com/nationallawjournal/2020/01/31/carter-page-suit-puts-fresh-spotlight-on-
perkins-coie-marc-elias-over-trump-dossier/?slreturn=20200618120711; see also
https://www.nationalreview.com/corner/scandals-collide-dossier-dnc-server-perkins-coie/ see
also
https://www.abajournal.com/news/article/perkins_coie_hired_company_that_compiled_trump_d
ossier_on_behalf_of_clinton




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Respectfully submitted this 18th day of July 2020.


       /s/ Larry Klayman
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 18, 2020 I filed a copy of the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


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                                                        /s/ Larry Klayman
                                                        Larry E. Klayman




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